                                                             Case 2:24-cv-02352-APG-DJA                  Document 20   Filed 03/20/25   Page 1 of 5




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                                                             12                       UNITED STATES DISTRICT COURT
                         Las Vegas, Nevada 89103




                                                             13                                     DISTRICT OF NEVADA
                                                             14
                                                                  KRISTINA KERLUS; individually,
                                                             15
                                                                                            Plaintiff,                 Case No. 2:24-cv-2352-APG-DJA
                                                             16
                                                             17          vs.
                                                                                                                       PLAINTIFF’S MOTION TO EXTEND
                                                             18   DR. JENNIFER CORNEAL; in her individual              TIME FOR SERVICE OF THE FIRST
                                                                  capacity; A. SANTOS, in her individual               AMENDED COMPLAINT
                                                             19   capacity; CITY OF LAS VEGAS; a municipal
                                                             20   corporation, COUNTY OF CLARK; a                      (FIRST REQUEST)
                                                                  municipal corporation, LAS VEGAS
                                                             21   METROPOLICATAN POLICE
                                                                  DEPARTMENT, jointly and severally,
                                                             22
                                                             23                         Defendants.

                                                             24
                                                                         Pursuant to Federal Rules of Civil Procedure 4(m) and 15(a)(2), Plaintiff Kristina
                                                             25
                                                                  Kerlus, by and through undersigned counsel, respectfully requests that the Court extend her
                                                             26
                                                                  time (to and until May 2, 2025) to serve her First Amended Complaint which was filed on
                                                             27
                                                                  December 19, 2024. See ECF No. 7. For the reasons set forth in this Motion, good cause
                                                             28

                                                                                                                   1
                                                             Case 2:24-cv-02352-APG-DJA             Document 20         Filed 03/20/25      Page 2 of 5




                                                              1   and/or excusable neglect exists to support this request. This is Plaintiff’s first request for an
                                                              2   extension of time.
                                                              3          In support of this Motion, Plaintiff relies upon the Memorandum of Points and
                                                              4   Authorities below, all papers on file in this civil action and any additional argument the Court
                                                              5   may permit.
                                                              6
                                                                                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                              7
                                                                                                          BACKGROUND
                                                              8
                                                                      1. Plaintiff’s claims in this case arise from her malicious prosecution related to the death
                                                              9
                                                                  of her infant son in 2018. See ECF No. 1.
                                                             10
                                                                      2. The initial Complaint in this case was filed on December 17, 2024 claiming, pursuant
                                                             11
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                                                                  to 42 U.S.C. § 1983, violations of Plaintiff’s rights pursuant to the Fourteenth Amendment of
                                                             12
                         Las Vegas, Nevada 89103




                                                                  the United State Constitution to be afforded equal protection and due process, and the Fourth
                                                             13
                                                                  Amendment of the United States Constitution to be free from malicious prosecution by
                                                             14
                                                             15   Defendant’s Corneal and Santos. ECF No. 1.

                                                             16       3. The First Amended Complaint in this case was filed on December 19, 2024, asserting

                                                             17   the same claims but adding additional parties. ECF No. 7.

                                                             18       4. The initial Complaint was filed by Santos Law and Muller Law Firm without the

                                                             19   knowledge or authorization of Plaintiff. See ECF No. 9, pp. 2-3.
                                                             20       5. The First Amended Complaint was also filed by Santos Law and the Muller Law Firm.
                                                             21       6. Upon information and belief, 1 the named Defendants in this case have not been served
                                                             22   with either the Complaint or First Amended Complaint.
                                                             23       7. On March 17, 2025, the Court issued a Notice of intent to dismiss pursuant to FRCP
                                                             24   4(m), setting a deadline for Plaintiff to provide proof of service on or before April 16, 2025.
                                                             25
                                                             26   1
                                                                   By email dated March 17, 2025, undersigned counsel contacted Cory Santos, Esq. for the
                                                             27   purpose of discussing “this matter,” including whether any of the pleadings were served in this
                                                                  case. That email was followed up by a telephone message left at Mr. Santos’ office. To date,
                                                             28   undersigned counsel has not received any response from Mr. Santos.

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                                                             Case 2:24-cv-02352-APG-DJA              Document 20        Filed 03/20/25       Page 3 of 5




                                                              1      8. Under FRCP 4(m), “the court must extend the time for service for an appropriate
                                                              2   period” when “the plaintiff shows good cause.”
                                                              3      9. Here, unretained counsel (Santos and Mueller) initiated this litigation without the
                                                              4   knowledge or authorization of the Plaintiff. ECF No. 9.
                                                              5      10. Because Plaintiff and retained counsel were caught off guard by the filing of pleadings
                                                              6
                                                                  in this case, there is good cause to extend the time for service of those pleadings.
                                                              7
                                                                     11. Following the filing of the Complaint and First Amended Complaint, Plaintiff retained
                                                              8
                                                                  the Romanucci & Blandin law firm, as well as undersigned counsel, to represent her interests.
                                                              9
                                                                     12. Since the filing of the Complaint, none of the named Defendants have filed an Answer
                                                             10
                                                                  or otherwise appeared in this litigation.
                                                             11
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                                                             12
                                                                                                              ARGUMENT
                         Las Vegas, Nevada 89103




                                                             13
                                                                         I.      Good Cause Warrants Extending Plaintiff’s Time To Serve The First
                                                             14                  Amended Complaint
                                                             15
                                                                         Under FRCP 4(m), a plaintiff has 90-days to serve a complaint. However, the rule
                                                             16
                                                                  requires that a court must extend that deadline upon a showing of good cause. To establish
                                                             17
                                                             18   good cause, a plaintiff must show (1) excusable neglect, (2) the party to be served received

                                                             19   actual notice of the suit, (3) the party to be served would suffer no prejudice and (4) plaintiff
                                                             20   would suffer severe prejudice if the complaint were dismissed. Lemoge v. United States, 587
                                                             21
                                                                  F.3d 1188, 1198 (9th Cir. 2009).
                                                             22
                                                                         In this case, three of the four factors militate in favor of Plaintiff. First, litigation was
                                                             23
                                                             24   initiated upon behalf of Plaintiff without her knowledge or authorization, a fact acknowledged

                                                             25   (albeit indirectly) in Cory Santos’s motion to withdraw. ECF No. 9. This by itself
                                                             26   demonstrates excusable neglect on the part of Plaintiff as she cannot be held responsible for the
                                                             27
                                                                  failure to make timely service when she did not retain the attorneys that initiated this lawsuit
                                                             28

                                                                                                                    3
                                                             Case 2:24-cv-02352-APG-DJA              Document 20         Filed 03/20/25       Page 4 of 5




                                                                  purporting to act on her behalf. With respect to the second factor, it is unclear whether
                                                              1
                                                              2   Defendants received actual notice of this litigation. Although undersigned counsel sought to

                                                              3   communicate with Mr. Santos to ascertain whether Defendants were served (or otherwise
                                                              4
                                                                  notified about this lawsuit), he has not responded to any inquiries. With respect to the third
                                                              5
                                                                  factor, Defendants will experience no prejudice should the Court extend the time for service
                                                              6
                                                              7   since this motion is being filed only three days after the expiration of the 90-day deadline for

                                                              8   service of the Complaint. Finally, the fourth factor weighs heavily in favor of Plaintiff as she
                                                              9   will certainly be prejudiced if the Court dismisses this case because, doing so, may implicate
                                                             10
                                                                  statute of limitations issues limiting her ability to re-file her claims.
                                                             11
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                                                                          Under the good cause standard, there is ample basis, especially considering the highly
                                                             12
                         Las Vegas, Nevada 89103




                                                             13   unusual circumstances described in Mr. Santos’ motion for leave to withdraw, for the Court to

                                                             14   extend Plaintiff’s time until May 2, 2025 to serve the First Amended Complaint.
                                                             15           II.     Excusable Neglect Warrants Extending Plaintiff’s Time To Serve The First
                                                             16                   Amended Complaint

                                                             17           In the absence of good cause, a court may still extend time for service of a pleading by

                                                             18   exercising its discretion upon a showing of excusable neglect. In determining excusable

                                                             19   neglect, courts may consider the following factors: (1) the danger of prejudice to the opposing

                                                             20   party, (2) the length of the delay, (3) the reason for the delay and (4) whether the movant has
                                                             21   acted in good faith. See Pioneer Investment Services Company v. Brunswick Associates
                                                             22   Limited Partnership, et. al., 507 U.S. 380, 395 (1993); Ahanchian v. Xenon Pictures, Inc., 624
                                                             23   F.3d 1253, 1261 (9th Cir. 2010). “[W]hat sorts of neglect will be considered ‘excusable’ . . . is
                                                             24   at bottom an equitable [inquiry] taking account of all relevant circumstances surrounding the
                                                             25   party’s omission.” Pioneer, 507 U.S. at 395.
                                                             26
                                                                          Here, all equitable factors favor providing Plaintiff an extension of time to serve the
                                                             27
                                                                  First Amended Complaint. As noted earlier, Defendants will experience no prejudice. The
                                                             28

                                                                                                                     4
                                                             Case 2:24-cv-02352-APG-DJA            Document 20         Filed 03/20/25      Page 5 of 5




                                                              1   length of the delay in this case is minimal considering the 90-day deadline expired only three
                                                              2   days ago. The reason for the delay is also justified given the confusion described in Mr.
                                                              3   Santos’s motion for leave to withdraw. Finally, Plaintiff has acted diligently and in good faith
                                                              4   upon discovering what transpired in this case. Accordingly, the Court should exercise its
                                                              5   discretion and extend Plaintiff’s time to serve the First Amended Complaint to and until May
                                                              6
                                                                  2, 2025.
                                                              7
                                                                                                          CONCLUSION
                                                              8
                                                                         For the reasons set forth herein, Plaintiff respectfully requests that the Court grant this
                                                              9
                                                                  Motion.
                                                             10
                                                                                                                        Respectfully submitted,
                                                             11
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                                                             12
                                                                                                                        /s/ Paul S. Padda
                         Las Vegas, Nevada 89103




                                                             13                                                         _________________________
                                                                                                                        Paul S. Padda, Esq.
                                                             14
                                                                                                                        Attorney for Plaintiff
                                                             15
                                                             16                                                         Dated: March 20, 2025

                                                             17                                   CERTIFICATE OF SERVICE
                                                             18
                                                                          Pursuant to the Federal Rules of Civil Procedure, the undersigned hereby certifies that
                                                             19   on this day, March 20, 2025, a copy of the foregoing document was filed with the Court and a
                                                                  copy served upon all respective parties and their counsel through the Court’s electronic filing
                                                             20   system.
                                                             21
                                                             22
                                                                                                                        /s/ Paul S. Padda
                                                             23                                                         _________________________
                                                                                                                        Paul S. Padda, Esq.
                                                             24
                                                             25
                                                             26
                                                             27
                                                             28

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